Case 2:16-cr-20268-MFL-DRG ECF No. 73, PageID.248 Filed 01/26/17 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                       Case No. 16-cr-20268
                                                    Hon. Matthew F. Leitman
v.

D-1 MICHAEL WEISS,

                   Defendant.
                                     /

                       ORDER TO DEPOSIT FUNDS
                     WITH THE CLERK OF THE COURT

      On October 26, 2016 Michael Weiss (Defendant) pled guilty to one count of

conspiracy to unlawfully distribute prescription controlled substances; one count

that he defrauded Medicare and one count that he unlawfully prescribed oxycodone.

(R. 68, p 1) Sentencing in this matter is set for February 23, 2017 at 2:00 p.m.

      As part of his plea, Defendant agreed to pay restitution, in an as yet

undetermined amount to the family of CF; $214,400 to Medicare and $40,639 to

Blue Cross and Blue Shield of Michigan.

      As part of the plea, and in anticipation of sentencing, Defendant arranged for

the sale of the property located at 930 Avon Road, #18, Rochester Hills MI. From

the net proceeds of the sale, the parties have agreed to allocate $35,000 towards the

monetary obligations anticipated as part of sentencing.
Case 2:16-cr-20268-MFL-DRG ECF No. 73, PageID.249 Filed 01/26/17 Page 2 of 2




      Now therefore

      IT IS HEREBY ORDERED that the $35,000 due Michael Weiss from the

sale of the property at 930 Avon Road, #18, Rochester Hills, Michigan shall be

remitted to the Clerk of the Court (USDC MIE), Attn: Financial, 231 W. Lafayette,

Detroit MI 48226; and

      IT IS FURTHER ORDERED that the Clerk of the Court shall accept the

funds, deposit said funds and shall hold said funds pending further order of the Court

in the case United States v Michael Weiss, case number 2:16CR20268 01.

      IT IS SO ORDERED.


                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: January 26, 2017


       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 26, 2017, by electronic means and/or
ordinary mail.

                                       s/Holly A. Monda
                                       Case Manager
                                       (313) 234-5113




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